                                                 Case 5:22-cv-03293-NC Document 18 Filed 12/02/22 Page 1 of 1
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                                                                                                                                               Dec 02 2022

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                                       8                                UNITED STATES DISTRICT COURT

                                       9                               NORTHERN DISTRICT OF CALIFORNIA

                                      10

                                      11   MARLEN WIGHTMAN,                                      CASE NO.: 5:22-cv-03293-NC
1050 Marina Village Pkwy., Ste. 105




                                      12                  Plaintiff,                             ORDER FOR DISMISSAL
    KANTOR & KANTOR, LLP

    Alameda, California 94501




                                      13          vs.
         (510) 992-6130




                                      14   GENWORTH LIFE INSURANCE
                                           COMPANY,
                                      15
                                                          Defendant.
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                                                  Pursuant to the stipulation of the parties, the above entitled action is dismissed
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                                           with prejudice. Each party shall bear its and his own fees and costs.
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                                           DATED: December 2, 2022                              TE            TC
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                                      22                                                 Hon. Nathanael M. Cousins
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                                                                                         U.S. Magistrate Judge
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                                      25                                                          Judge Na
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                                                                             ORDER FOR DISMISSAL
